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                           NOTICE OF APPEAL
                                   TO
                  U.S. COURT OF APPEALS, THIRD CIRCUIT

UNITED STATES DISTRICT COURT FOR THE) CIRCUIT COURT
ESTERN DISTRICT OF PENNSYLVANIA    ) DOCKET NUMBER: ----
                                   )
                                                    )
Maria Mahmood, Plaintiff                            ) DISTRICT COURT
                                                    ) JUDGE: TIMOTHY R. RICE
                    v.                              )
                                                    )
National Board of Medical Examiners,                )
                                                                 FILED
                          Defendants                )             MAR 2 0 2013
                                                    )         MICHAEL E. KUNZ, Clerk
--------------------------------- -----18~,~~~o~e~p.~CI~er~k

I, Maria Mahmood, am the Plaintiff in the captioned matter appearing as Pro Se
and hereinafter referred as Plaintiff. Notice is hereby given that, Plaintiff, appeals
to the United States Court of Appeals for the Third Circuit from the order of the
United States District Court for the Eastern District of Pennsylvania was entered in
the action on 21st. February 20 13. A copy of order is attached as Exibit-A.




Place: Laurel
Date: March 19, 2013                             Maria Mahmood, Plaintiff, Pro Se
                                                 14 717 Exbury Lane
                                                 Laurel, MD 20707
                                                 Tel.# 301-362-1471
Case: 13-1908
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARIA MAHMOOD,
             Plaintiff,                                     CNILACTION

             v.

NATIONAL BOARD OF                                           No. 12-1544
MEDICAL EXAMINERS,
              Defendant.


                                     AMENDED ORDER

      AND NOW, this 21st day of February, 2013, upon consideration ofDefendant National

Board of Medical Examiners ("NBME")'s motion for summary judgment, the accompanying

memorandum oflaw and exhibits, and Plaintiff Maria Mahmood's answer, it is ORDERED that

summary judgment is GRANTED.

      Judgment is entered in favor of Defendant.

      The Clerk of Court shall close the case for statistical purposes.

                                                    BY THE COURT:



                                                    Is/ Timothy R. Rice
                                                    HONORABLE TIMOTHY R. RICE
                                                    United States Magistrate Judge
   Case: 13-1908   Document: 003111217579
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Maria Mahmood, Plaintiff             ) UNITED STATES DISTRICT COURT
                                      ) FOR THE EASTERN DISTRICT OF
            V.                        )         PENNSYAL VANIA
                                      )
National Board of Medical Examiners, )
                          Defendants )
                                      ) Civil case No. 12-cv-0 1544
--------------------------- )___________________________
                           CERTIFICATE OF SERVICE

I hereby certify that on March 19, 2013, I filed the PLAINTIFF NOTICE OF
APPEAL with the clerk of the court. The CM/ECF of the United States District
Court for the Eastern District of Pennsylvania will send notification of such filing
to the following:

National Board of Medical Examiners
3750 Market Street,
Philadelphia, PA 191 04



                                             Respectfully submitted,

Dated: March 19,2013
                                              lu.!tLt
                                             Maria Mahmood, Plaintiff, Pro Se




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          Case 2:12-cv-01544-TR Document 37 Filed 03/20/13 Page 4 of 4




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